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                              UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF DELAWARE
---------------------------------------------------------------x
                                                               :
In re                                                          : Chapter 11
                                                               :
WASHINGTON MUTUAL, INC., et al.,1                              :
                                                               : Case No. 08-12229 (MFW)
                                                               :
                                                               :
                  Debtors.                                     : (Jointly Administered)
                                                               :
                                                               :
---------------------------------------------------------------x

                                            NOTICE OF FILING

                  PLEASE TAKE NOTICE that the above-captioned debtors and debtors-in-

possession (collectively, the “Debtors”) have today filed the attached Creditor Matrix with the

United States Bankruptcy Court for the District of Delaware, 824 North Market Street,

Wilmington, Delaware 19801.

                  PLEASE TAKE FURTHER NOTICE that the Debtors expect to file an amended

Creditor Matrix, or a supplement thereto, on or prior to October 10, 2008.




          1        The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax
identification number are: (i) Washington Mutual, Inc. (3725); and (ii) WMI Investment Corp. (5395). The Debtors’
principal offices are located at 1301 Second Avenue, Seattle, Washington 98101.




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Dated: October 8, 2008
       Wilmington, Delaware

                                 /s/ Chun I. Jang
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                                 Chun I. Jang (No. 4790)
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                                 – and –

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                                 PROPOSED ATTORNEYS TO THE DEBTORS
                                 AND DEBTORS IN POSSESSION




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